EXHIBIT A
Anulewicz, Chris

From:                              Anulewicz, Chris
Sent:                              Thursday, January 7, 2021 12:29 AM
To:                                Kurt Hilbert
Cc:                                ccarr@law.ga.gov; trevis@hilbertlaw.com; Ray S. Smith, III; dfg@guldenschuhlaw.com;
                                   rwillard@law.ga.gov
Subject:                           Re: Confidential

Follow Up Flag:                    Flag for follow up
Flag Status:                       Flagged


Mr. Hilbert—



Thank you for your correspondence of earlier tonight. While I appreciate the willingness of you and your clients to avoid
protracted litigation in which, as indicated in my letter of January 3, 2020, we strongly believe the State will prevail, I
want to make sure that there are no misunderstandings about either my letter or what the Secretary is willing to do
once the pending cases have been dismissed. The letter was not a settlement offer, as you characterize it, but simply a
statement that my client was not able to sit down and discuss the issues raised by your clients while there was active
litigation by your clients against my client and other state officials. As a result, unless and until your clients met the
condition precedent of dismissing all pending cases against state officials, my client would not be able to sit down and
discuss the data analysis included in your clients’ complaints, including showing how both the underlying data and the
accompanying analysis are flawed.



As your clients have now indicated an intent to dismiss the pending cases, my client’s offer to voluntarily sit down and
discuss, as stated in my letter of January 3, 2020, “as much information with you as we can” outside of the context of
ongoing litigation can proceed following your clients’ voluntary dismissal of the identified litigation. We cannot agree to
provide you access to information that is required by law to remain confidential, but that information should not be
necessary to complete the type of discussion contemplated in the prior conversation with Ryan Germany comparing the
information relied upon by your experts with the information utilized in the conduct of Georgia’s electoral
process. While your letter does not specifically state that your clients desire access to confidential information, I wanted
to make clear that the Secretary cannot agree to such a request if that was contemplated in your stated intention to
dismiss the litigation to complete the Secretary’s condition precedent to voluntarily sitting down with you outside the
threat of ongoing litigation.



Once your client has voluntarily dismissed the litigation identified in your letter, you can work through Russell Willard
and Charlene McGowan in the Attorney General’s office to set up a meeting with the Secretary’s office. Once the
litigation is dismissed, my appointment as a Special Assistant Attorney General will conclude. I look forward to receiving
confirmation of the dismissal of the identified litigation. Otherwise, we stand ready to proceed with the scheduled
hearing and trial on Friday.



Chris Anulewicz
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Sent from my iPhone




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       On Jan 6, 2021, at 9:36 PM, Kurt Hilbert <khilbert@hilbertlaw.com> wrote:

       [External Email] Please use caution.

       General Carr and Chris-

       Please see the attached acceptance letter of your settlement terms from Sunday.

       Have a pleasant evening. I look forward to coordinating promptly as per the letter attached.

       Kurt R. Hilbert, Esq.
       Managing Member

       <image001.png>

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